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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 NELSON L. BRUCE,
                         Plaintiff,
 v.
 EQUIFAX INFORMATION SERVICES,
 LLC, EXPERIAN INFORMATION                                  CASE NO.: 2:21-cv-03603-BHH-MGB
 SOLUTIONS, INC., TRANS UNION, LLC,
 and UNKNOWN DOES 1-100

                         Defendants.


               DEFENDANT TRANS UNION LLC’S RESPONSE TO
          PLAINTIFF’S REPLY AND OBJECTIONS TO TRANS UNION’S
      ANSWER AND DEFENSES TO PLAINTIFF’S SUPPLEMENTAL COMPLAINT

       COMES NOW, Trans Union LLC (“Trans Union”), and files its Response to Plaintiff

Nelson L. Bruce’s (“Plaintiff”) Reply and Objections to Trans Union’s Answer and Defenses to

Plaintiff’s Supplemental Complaint (“Reply”) and would respectfully show the Court as follows:

       1.        On August 5, 2022, Trans Union filed its Answer and Defenses to Plaintiff’s

Supplemental Complaint [ECF No. 69].

       2.        Plaintiff filed his Reply on August 15, 2022 [ECF No. 73]. Such Reply is improper

under the Federal Rules of Civil Procedure, and the relief sought in the Reply is not supported by

any authority.

                                              Respectfully Submitted,

                                              s/ Wilbur E. Johnson
                                              Wilbur E. Johnson, Federal ID No.: 2212
                                              Clement Rivers, LLP
                                              25 Calhoun Street, Suite 400
                                              Charleston, SC 29401
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                                              Counsel for Trans Union LLC


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of August 2022, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to counsel of record registered to use the CM/ECF system in this action, as follows:

 Rita Bolt Barker                                    Lyndey Ritz Zwing Bryant
 rbarker@wyche.com                                   lyndey.bryant@arlaw.com
 Wyche PA                                            Luke Montgomery Allen
 200 E Camperdown Way                                luke.allen@arlaw.com
 Greenville, SC 29601                                Adams and Reese LLP
 Counsel for Equifax Information Solutions,          1501 Main Street, Fifth Floor
 LLC                                                 Columbia, SC 29201
                                                     Counsel for Experian Information Solutions,
                                                     Inc.

      I further certify that I forwarded a copy of the foregoing by U.S. First Class Mail to the

following non-CM/ECF participants:

 Nelson L. Bruce
 PO BOX 3345
 Summerville, SC 29484-3345
 Pro Se Plaintiff


                                              s/ Wilbur E. Johnson
                                              WILBUR E. JOHNSON




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